              Case 1:18-cv-03501-JGK Document 265 Filed 07/24/19 Page 1 of 1



                                      ALAN        S. FUTERFAS
                                            ATTORNEY AT LAW

                                      565 FIFTH AVENUE, 7TH FLOOR

                                       NEW YORK, NEW YORK 10017

                                               (212) 684-8400

ELLEN B. RESNICK                                                                 asfu terfas@fu terfasla w. com
RICHARD F. BRUECKNER


BETTINA SCHEIN                                            July 24, 2019
  OF COUNSEL




    VIAECF
    The Honorable John G. Koeltl
    United States District Judge
    Daniel Patrick Moynihan
    United States Courthouse
    500 Pearl Street
    New York, NY 10007-1312

          Re: Democratic National Committee v. Russian Federation (1: 18-cv-0350 1-JGK)

    Dear Judge Koeltl:

             I represent Defendant Donald Trump, Jr. in the above-captioned action. We have been
    alerted to the fact that, during the July 19, 2019, hearing on Defendants' motions to dismiss the
    Second Amended Complaint, Your Honor inquired about the fact that Defendant Donald Trump,
    Jr. waived service of the summons but did not file a motion to dismiss or any other response to
    the Second Amended Complaint. Through a misunderstanding, we did not file a motion that
    incorporated all of the arguments set forth in Defendant Donald J. Trump for President, Inc.'s
    briefing on its motion to dismiss. With this filing, Defendant Donald Trump Jr. incorporates all
    of those arguments, and respectfully requests that Your Honor treat those arguments as having
    been similarly made by Defendant Donald J. Trump, Jr. Attached is a formal Notice of Motion
    to this effect. We sincerely regret any inconvenience this has caused Your Honor.

                                                   Respectfully yours,



                                                   Alan S. Futerfas


    Enc.
    cc:      All Counsel of Record (via ECF)
       Case 1:18-cv-03501-JGK Document 265-1 Filed 07/24/19 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK



DEMOCRATIC NATIONAL
COMMITTEE,

                              Plaintiff,                Case No. 1: 18-cv-3501-JGK-SDA

                      v.

THE RUSSIAN FEDERATION, et al.,

                              Defendants.




             DEFENDANT DONALD J. TRUMP, JR.'S
NOTICE OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT



       PLEASE TAKE NOTICE that Defendant Donald J. Trump, Jr., hereby moves this Court

for an Order dismissing all claims asserted against him in the Second Amended Complaint, in

accordance with Federal Rule of Ci vii Procedure 12(b)( 6).

       PLEASE TAKE FURTHER NOTICE that Mr. Trump, Jr., joins in, relies upon, and

incorporates herein by references, each and every argument, insofar as it applies to him, made by

Defendant Donald J. Trump for President, Inc. ("the Campaign") in the Campaign's briefing on

its motion to dismiss the Second Amended Complaint.
         Case 1:18-cv-03501-JGK Document 265-1 Filed 07/24/19 Page 2 of 2




Dated:     July 24, 2019                     Respectfully submitted,




                                             Alan S. Futerfas

                                           Counsel for Donald J Trump, Jr.
       Case 1:18-cv-03501-JGK Document 265-2 Filed 07/24/19 Page 1 of 1



                                   CERTIFICATE OF SERVICE

        I, Ellen B. Resnick, certify that on July 24, 2019, I caused the foregoing document to be

electronically filed with the Clerk of Court using the CM/ECF system, which will send a notice

of electronic filing to all registered parties.


Dated: July 24, 2019
                                                  Ellen B. Resnick
                                                  Law Offices of Alan S. Futerfas

                                                  Counsel for Defendant Donald J Trump, Jr.
